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                         UNITED STATES DISTRICT COURT

                                DISTRICT OF OREGON

                                PORTLAND DIVISION


 PACIFIC OFFICE AUTOMATION INC., an         Case No. 3:20-cv-00651-AC
 Oregon corporation,

                             Plaintiff,
                                            DEFENDANTS’ REPLY
       v.                                   MEMORANDUM IN SUPPORT OF
                                            THEIR SECOND MOTION
 PITNEY BOWES INC., a Delaware              TO COMPEL FURTHER
 corporation; PITNEY BOWES GLOBAL           RESPONSES TO
 FINANCIAL SERVICES LLC, a Delaware         INTERROGATORIES AND
 limited liability company; THE PITNEY      REQUESTS FOR PRODUCTION OF
 BOWES BANK, INC., a federal banking        DOCUMENTS FROM PLAINTIFF
 institution; and WHEELER FINANCIAL         PACIFIC OFFICE AUTOMATION
 FROM PITNEY BOWES INC., a Delaware         INC.
 corporation,

                             Defendants.




DEFENDANTS’ REPLY                                                          K&L Gates LLP
IN SUPPORT OF THEIR SECOND MOTION TO                              One SW Columbia Street, Suite 1900
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  I.   INTRODUCTION

       POA’s Opposition to Defendants’ Second Motion to Compel (Doc. 47) contains three

omissions that make statements contained therein misleading. First, Plaintiff omits two critical

sentences from a November 22, 2020 email by Defendants’ counsel that Plaintiff quotes from in

its Opposition. When those two sentences are included, as they must be, the email says exactly

the opposite of what Plaintiff contends the email says. Second, although Plaintiff says that it has

given assurances to provide certain information regarding its document production, Plaintiff

omits to say (1) that it gave those assurances on January 22, 2021, more than a month before

Defendants filed their Second Motion to Compel; and (2) that even now, two months later,

Plaintiff still has not provided that information or said when it is going to do so. Third, in saying

that it is going to (at some unspecified time) provide custodial information about documents,

Plaintiff omits to say that such custodial information is insufficient to address the deficiencies in

Plaintiff’s Interrogatory responses for which it relies on FRCP 33(d).

 II.   ARGUMENT
       A.  Plaintiff Misstates Defendants’ Position on Compliance with FRCP
           34(b)(2)(E)(i) by Omitting Two Critical Sentences from the Email that
           Plaintiff Quotes on Page 4 of its Opposition.
       In its Opposition, Plaintiff argues that Defendants excused Plaintiff from its obligation

under FRCP 34(b)(2)(E)(i) either to provide custodial information about documents produced or

to designate the document Request(s) to which produced documents responded. (Opp’n at 3-4.)

If that argument were correct, then Defendants’ Second Motion to Compel would be hypocritical

indeed, or, as Plaintiff puts it, “Pitney is acting contrary to its own written words.” (Id. at 4.) In

support of its position, Plaintiff quotes selectively from a November 22, 2020, email from




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Defendants’ counsel. (Opp’n at 4.) 1 But Plaintiff omits critical sentences at the beginning and at

the end of its quotation - sentences that make the email say precisely the opposite of what

Plaintiff claims it says. What follows is the relevant language as it actually appears in the

November 22 email, with the sentences that Plaintiff quoted in its Opposition in black, and the

sentences that Plaintiff omitted from its Opposition in red:

        Turning to an issue raised by your November 20 email that does
        require further discussion, I am unclear what you mean by the
        term “discovery responses.” If you are referring to a written
        response to PBI’s First Request for Documents, please be
        advised that no such written response is necessary, because
        POA has waived all objections. All that remains is for you to
        provide the “fulsome” production promised in your November 6
        email. Similarly, if you are referring to a written response to PBI’s
        First Set of Interrogatories other than answering the
        interrogatories themselves, no such response is necessary,
        because, again, POA has waived all objections.

        If, by “discovery responses” you mean the actual production of
        documents, it is fine if you would like to produce them on a rolling
        basis. Please ensure that each such production indicates to
        which request(s) the produced documents are responsive, or, if
        the documents are being produced as kept in the ordinary course
        of business, please provide the requisite custodial/source
        information.
See Doc. 42-1, Exhibit 1 at 1. The additional sentences demonstrate that Defendants did not

“instruct” Plaintiff that it did not have to comply with FRCP 34(b)(2)(E)(i); rather, Defendants

expressly insisted on such compliance.


1
 Plaintiff incorrectly cites the date of the email as November 20, 2020, but in fact it was sent on
November 22, 2020, in response to a November 20 email from Plaintiff’s counsel. (See Doc. 42-
1, Exhibit 1 at 1.)
    Page 2 ‒ DEFENDANTS’ REPLY                                                                     K&L Gates LLP
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          B.     Plaintiff Has Not Followed Up on its “Assurances” Regarding Custodial
                 Information for Months.
          In contradiction of its own argument that Defendants instructed Plaintiff not to comply

with FRCP 34(b)(2)(E)(i), Plaintiff argues that Defendants Second Motion to Compel was

unnecessary, because of “assurances” Plaintiff has made it will provide custodial information to

Defendants “before this [Second] Motion [to Compel] is heard by the Court.” (Opp’n at 3.)

Plaintiff fails to say, however, that it made that “assurance” on January 22, 2021, 2 and that

Defendants waited for more than a month of silence from Plaintiff before filing the Second

Motion to Compel. Even now, two months later, Plaintiff has neither provided custodial

information nor said when it will do so.

          C.     Plaintiff Fails to Acknowledge that Custodial Information Is Not Sufficient
                 for the Document Requests Corresponding to the Interrogatories to Which
                 Plaintiff Responded by Relying on FRCP 33(d).
          Even though Plaintiff relies on assurances it has made that it will provide custodial

information regarding its document production, Plaintiff fails to acknowledge that custodial

information is not an option for certain document Requests. For document Requests 1, 2, 4-7

and 14, Plaintiff must specifically identify which documents respond to those Requests. The

reason is that those document Requests correspond to Interrogatories bearing the same numbers,

and Plaintiff chose to respond to those Interrogatories by relying on FRCP 33(d)(1) in its

responses, instead of providing a narrative response. Having relied on FRCP 33(d)(1) for its

responses to Interrogatories 1, 2, 4-7 and 14, Plaintiff must identify the specific documents it is

relying on to respond to those Interrogatories. 3

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2
    Doc. 44-1, Exhibit 1 at 1-2.
3
  Plaintiff’s failure to fulfill its obligations under FRCP 33(d)(1) as to a number of its Interrogatory
responses is the subject of Defendants’ First Motion to Compel. (Doc. 38.)
    Page 3 ‒ DEFENDANTS’ REPLY                                                                        K&L Gates LLP
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DATED this 22nd day of March, 2021.
                                      K&L GATES LLP

                                      BY:    s/Philip Van Der Weele
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                                      Of Attorneys for Defendants




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                              CERTIFICATE OF SERVICE

      I hereby certify that on this 22nd day of March, 2021, I caused to be served a copy of the

foregoing DEFENDANTS’ REPLY MEMORANDUM IN SUPPORT OF THEIR SECOND

MOTION TO COMPEL FURTHER RESPONSES TO INTERROGATORIES AND

REQUESTS FOR PRODUCTION OF DOCUMENTS FROM PLAINTIFF PACIFIC OFFICE

AUTOMATION INC. upon all counsel of record via the Court’s CM/ECF electronic service

system.

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DATED this 22nd day of March, 2021.


                                             s/Philip Van Der Weele
                                             Philip Van Der Weele, OSB #863650




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